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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA      *
                              *
      VS.                     *                    CRIMINAL NO. 04-351 (23) (SEC)
                              *
EMILIO MATA-SOJO              *
                              *
______________________________*
 *************************
                     JUDGMENT OF DISCHARGE
      It appearing that defendant EMILIO MATA-SOJO has been charged of the offenses
     of:

     Count One (1) : Money laundering-financial transactions affecting interstate
                       commerce.
     Count Three (3) : Money laundering, criminal forfeiture.


     It further appearing that defendant is now entitled to be discharged for the reason
     that:

       ( ) The Court has granted defendant's Motion for Judgment of Acquittal,
           pursuant to Rule 29(a) of the Federal Rules of Criminal Procedure;

      (    ) The Court has granted government's Motion for Dismissal, pursuant to Rule
             48(a) of the Federal Rules of Criminal Procedure;

       (   ) The Court has entered a finding of Not Guilty after a Court trial and after
             execution by the defendant of a waiver of jury and its approval by the Court;

      ( X ) The Court has dismissed the charges for unnecessary delay, pursuant to
           Rule 48(b) of the Federal Rules of Criminal Procedure.

     It is therefore ORDERED and ADJUDGED that the defendant be, and is hereby
     DISCHARGED WITHOURT PREJUDICE.

     San Juan, Puerto Rico, this 3rd day of April, 2008.


                                              S/ Salvador E. Casellas
                                                Salvador E. Casellas
                                                 U.S. District Judge
